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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
                                   (CRIMINAL MATTER)


UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              )       Docket No.: 21cr429 CRC
                                                )
                                                )
NOLAN KIDD                                      )
    Defendant                                   )

              DEFENDANT’S POSITION WITH RESPECT TO SENTENCING

        COMES NOW the Defendant, NOLAN KIDD, by and through counsel, Dwight E.

Crawley, and respectfully requests that this Court sentence the defendant to probation for a term of

12 months, restitution in the amount of $500.00, and 60 hours of community service. Mr. Kidd

timely accepted full responsibility for his conduct in this matter and did not cause the government

to expend enormous resources prosecuting this case at trial.

        Mr. Kidd voluntarily met with law enforcement on multiple occasions and explained his

involvement in this matter. The government used the statements made by the defendant as well as

video evidence created by him to prosecute him for his criminal conduct. In fact, Mr. Kidd provided

the government with all the evidence needed to prosecute him.

        Mr. Kidd understands the serious nature of his conduct. He recognizes that his actions

emboldened others to act in a more hostile manner. However, Mr. Kidd did not physically assault

anyone and did not destroy any property. He truly regrets his conduct and takes full responsibility

for his actions. He understands that his actions caused significant harm to the entire country.

        Mr. Kidd does not have a criminal history. In addition, he is gainfully employed. Since his

arrest, he has fully complied with the terms and conditions of his release. He is not a threat to the
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country and has not engaged in any behavior that would suggest he is a future threat.

       Mr. Kidd has truly learned a lesson from this ordeal and has vowed to never engage in this

type of behavior again. He will forever be linked to this crime as a search of his name via the

internet clearly reveals. Probation for a term of 12 months, restitution in the amount of $500.00 and

60 hours of community service is appropriate in this case. It does not create unwarranted disparity

between others convicted of the same crime. It punishes the defendant for his conduct while

promoting respect for the law. Finally, it deters futures criminal conduct by demonstrating similar

behavior will not go unpunished.

                                                       Respectfully submitted

                                                       NOLAN KIDD

                                                               /s/
                                                       ________________________
                                                       Dwight E. Crawley
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd day of May 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to all

attorneys of record.


                                                             /s/
                                                       ___________________________
                                                       Dwight E. Crawley
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